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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:18-cv-23443-DPG


    CARACOL TELEVISION, S.A.,                      )
                                                   )
              Plaintiff,                           )
                                                   )
    v.                                             )
                                                   )
    TELEMUNDO TELEVISION                           )
    STUDIOS, LLC., TELEMUNDO                       )
    INTERNACIONAL LLC, and                         )
    TELEMUNDO NETWORK GROUP                        )
    LLC,                                           )
                                                   )
          Defendants.                              )
    _________________________________              )

                                      AMENDED COMPLAINT

         Plaintiff Caracol Television, S.A., (“Caracol”), by its undersigned attorney, for its

  Amended Complaint against the Defendants Telemundo Television Studios, LLC (“TTS”),

  Telemundo Internacional LLC (“TI”), and Telemundo Network Group LLC (“TNG”) (TTS, TI,

  and TNG, collectively, “Telemundo Companies”), alleges as follows:

                                      I. The Nature of the Action

         1.        This action seeks declaratory relief regarding issues of copyright law, pursuant to

  the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, and the Copyright Laws of the United

  States, 17 U.S.C. This action also asserts copyright infringement claims under Title 17, U.S.C.

  Plaintiff additionally seeks monetary damages for breach of contract and an accounting.

                                             II. The Parties

         2.        Caracol was, at all times pertinent, and is, a sociedad anónima organized and

  existing under the laws of Colombia, with its principal place of business in Bogota, Colombia.
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          3.      TTS was, at all times pertinent, and is a limited liability company organized and

  existing under the laws of Delaware, with its principal place of business in Miami, Florida.

          4.      TI was, at all times pertinent, and is a limited liability company organized and

  existing under the laws of Delaware, with its principal place of business in Miami, Florida.

          5.       TNG was, at all times pertinent, and is a limited liability company organized and

  existing under the laws of Delaware, with its principal place of business in Miami, Florida.

                                       III. Jurisdiction and Venue

          6.      This Court has original subject matter jurisdiction over this action and the claims

  asserted herein, pursuant to 28 U.S.C. §§ 1331 and 1338(a), and supplemental jurisdiction over

  state law and common law claims pursuant to 28 U.S.C. § 1367. This Court also has original

  subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332, as the matter in

  controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is between

  a company or citizen of a foreign state and citizens of the state of Florida and/or Delaware.

          7.      TTS, TI, and TNG are subject to personal jurisdiction of the Court because each

  of them is a resident of this District, and TTS and TI have agreed to personal jurisdiction in the

  courts located in Miami-Dade County, Florida.

          8.      Venue is proper in this judicial district, pursuant to 28 U.S.C. 1391(b)(l) and (2),

  because each of TTS, TI, and TNG conducts business in this district, a substantial part of the

  events giving rise to the claims occurred in this district and a substantial part of the property that

  is the subject matter of the action is situated within this district.

                                  IV. The Parties’ Initial Agreements

          9.      Caracol and the Telemundo Companies are in the business of the production,

  distribution and broadcast of television programs.




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          10.     On or about October 25, 2012, Caracol and TTS entered into a Co-Production

  Agreement, a copy of which is attached to this complaint as Exhibit A, by which the parties

  agreed to jointly develop, produce and distribute a Spanish-language telenovela titled “El Señor

  de los Cielos,” referred to in the Co-Production Agreement as the “Series.”

          11.     On or about October 25, 2012, Caracol and TI entered into an International

  Distribution Agreement, a copy of which is attached to this complaint as Exhibit B, by which the

  parties agreed to certain exclusive exploitation and distribution rights as to the Series.

          12.     The parties agreed that the copyright in the Series, in the script, and in derivative

  works was owned by Caracol and TTS jointly, subject to certain limitations upon the rights of

  each as a joint owner.

          13.     In the International Distribution Agreement, in Clause 11.1, it is specified that the

  “intellectual property rights in and to the Series, their translations and adaptations, their title and

  all other elements of or appearing in the Series, or created pursuant to them are exclusively

  governed by the Co-Production Agreement.”

          14.     In the Co-Production Agreement, the parties agreed, in Clause 5(a), that “the

  Series and all elements thereof will be jointly and exclusively owned by the Parties [Caracol and

  TTS] throughout the world” subject to the agreed exclusive rights of each party to exploit the

  Series in certain territories. Clause 5(a) also provides that the parties’ ownership of rights

  includes “the Series and all elements and portions thereof … including without limitation all

  literary, dramatic, or other material contained therein, all characters, concepts, properties,

  elements, names and titles contained therein.”

          15.     In the Co-Production Agreement, in Clause 5(c), the parties agreed that “the

  Parties [Caracol and TTS] will jointly and exclusively own the copyright and other intellectual




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  property rights in and to the Series, including all Ancillary Rights, in perpetuity throughout the

  world.”

          16.    In Clause 5(d) of the Co-Production Agreement, the parties agreed that “[t]he

  Parties [Caracol and TTS] will jointly and exclusively own the copyright and other intellectual

  property rights in and to the Original Script in perpetuity and throughout the world. No license,

  distribution or exploitation of any kind may be granted by either Party to third parties without the

  written approval of both Parties.”

          17.    Caracol and TTS agreed to limitations upon their rights as joint owners to make

  derivative works based upon the Series. Clause 5(b) of the Co-Production Agreement provides in

  part:

          In the event that either Party is interested in creating and/or producing or licensing
          a Remake, Spinoff, or Sequel based on the Series (each a “Derived Series”), such
          Party shall offer the other Party the option to become a co-producer in the
          creation, production, and exploitation of such Derived Series. … If the Party that
          receives the offer to co-produce the Derived Series rejects the offer in writing,
          then the Parties shall negotiate in good faith during the sixty (60) days following
          the notice of rejection the terms under which the interested Party may be granted
          the sole right to produce the Derived Series.

          18.    Both the Co-Production Agreement, in Clause 10(d), and the International

  Distribution Agreement, in Clause 18.4, provide that claims and disputes relating to those

  agreements shall be resolved through binding arbitration in Miami-Dade County, Florida.

          19.    The parties completed the production of the Series in accordance with the Co-

  Production Agreement and began distribution and exploitation pursuant to the terms of the Co-

  Production Agreement and the International Distribution Agreement. The original Series is a

  telenovela comprised of 74 episodes, which was first broadcast in 2013.




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                            V. The Parties’ Agreement as to the Sequel.

         20.     Pursuant to the provisions of Clause 5(b) of the Co-Production Agreement, TTS

  offered to Caracol the option to co-produce a sequel to the Series. On or about August 27, 2013,

  Caracol and TTS entered into a letter agreement (the “Letter Agreement”), a copy of which is

  attached to this complaint as Exhibit C. The Letter Agreement provided that TTS would produce

  and distribute a sequel to the Series, subject to certain exhibition rights granted to Caracol.

  Clause 3 of the “Term Sheet” attached to the Letter Agreement provides:

         a.      TTS will develop, produce, own, and distribute a sequel to the “El Senor
         de los Cielos” (the “Series”) for the exhibition and exploitation in the United
         States, its territories, as well as throughout the world (the “Sequel”).

         b.      The Sequel will be based upon the original format of the Series, which
         TTS shall have all right to use all elements (e.g., characters, story, scenarios,
         locales, etc.) derived from the Series and any new elements added by TTS for
         purposes of creating the Sequel. For clarity, TTS will not be entitled to use images
         and content licensed by Caracol for the Series, except as agreed mutually by the
         Parties in a case-by-case scenario.

  Clause 7 of the Term Sheet provides:

         From inception through all stages of completion, the Sequel and all elements
         thereof, including the underlying works, format and scripts of the Series, will be
         exclusively owned by TTS throughout the world.

         TTS will own and control all exclusive, irrevocable and perpetual right, title and
         interest (including copyright), throughout the universe in and to the Sequel and all
         derivatives of the Sequel, and all elements underlying works or portions thereof,
         including raw footage, from the inception of production, in any and all media and
         formats now known or hereafter devised, in perpetuity, including without
         limitation all literary, dramatic and other material contained therein, and the
         results and proceeds of the services in connection therewith.

         21.     In consideration of TTS’s sole ownership of rights in the Sequel, Caracol was

  granted a limited right to exhibit the Sequel in the country of Colombia, and a share of “Foreign

  Net Sales” received by TI, documented by quarterly participation statements.




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         22.     The Letter Agreement provides that claims arising out of or relating to it “shall be

  litigated exclusively in the federal or state courts of Miami Dade, Florida.”

         23.     Upon information and belief, TTS produced the Sequel, a telenovela bearing the

  same title, “El Señor de los Cielos,” comprised of 84 episodes, and commonly referred to as the

  second season, which was first broadcast in 2014. Upon information and belief, TI distributed

  the Sequel internationally, and licensed exhibitions of the Sequel worldwide.

                                     VI. Telemundo’s Breaches

         24.     In breach of the provisions of the Letter Agreement, TTS has failed and refused to

  provide complete and timely quarterly statements regarding Foreign Net Sales for the Sequel,

  and has failed and refused to pay to Caracol any sums due.

         25.     Upon information and belief, TTS produced and exhibited a third season of “El

  Señor de los Cielos,” comprised of 104 episodes and released in 2015, a fourth season comprised

  of 80 episodes and released in 2016, a fifth season comprised of 95 episodes released in 2017,

  and a sixth season released in 2018 and which is currently being broadcast (collectively the

  “Derived Series”). Upon information and belief, Telemundo produced and exhibited a spinoff

  series titled “El Chema” comprised of 84 episodes and released in late 2016 (the “Spinoff”).

  Upon information and belief, TI distributed the Derived Series and the Spinoff internationally,

  and licensed exhibitions of the Derived Series and the Spinoff worldwide.

         26.     TTS breached the Co-Production Agreement by failing in each instance to offer

  Caracol the option to co-produce each of the Derived Series and the Spinoff, by failing to

  negotiate in good faith the terms under which TTS would enjoy the right to produce each of

  these works, by failing to negotiate in good faith the terms under which Caracol would gain

  exhibition and other exploitation rights to each of these works, and by failing to negotiate in




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  good faith the terms of Caracol’s participation in revenues received from the exploitation of each

  of these works by TTS and TI.

         27.     As a result, Caracol was required to purchase under the terms of volume license

  contracts rights to exhibit in Colombia the Derived Series and the Spinoff at the following costs:

         El Señor Season 3 (104 episodes, $3,000 each)           $312,000

         El Señor Season 4 (80 episodes, $4,624 each)            $369,920

         El Señor Season 5 (95 episodes, $4,624 each)            $439,280

         El Chema (84 episodes, $4,624 each)                     $388,416

         These costs to obtain exhibition rights are significantly higher than that which would

  have resulted from good faith negotiations under the terms of the Co-Production Agreement,

  resulting in damages to Caracol.

         28.     Upon information and belief, TTS has granted to NBCUniversal, Inc., or other

  third parties a license, or an option to license, the format rights of the Series for the preparation

  of an English-language derivative work, but Telemundo has failed to obtain the approval of

  Caracol, in breach of the Co-Production Agreement, resulting in damages to Caracol.

         29.     TTS seeks to justify its wrongful conduct by contorting the language of the Letter

  Agreement into a fictitious assignment of all of Caracol’s share of the copyright in the Series.

  Specifically, TTS claims that the term of the Letter Agreement giving TTS exclusive ownership

  of the copyright in the Sequel implicitly conveys Caracol’s copyright in the Series. Upon

  information and belief, it is the position of TTS and TI that, as a result of the alleged assignment

  of Caracol’s rights, TTS and TI are freed from all responsibilities and limitations imposed by the

  Co-Production Agreement and the International Distribution Agreement.

         30.     The position taken by TTS and TI is incorrect for several reasons.




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                 A.      The Letter Agreement contains no express transfer of rights, and merely

  establishes the rights TTS enjoys in the Sequel. Pursuant to 17 U.S.C. § 204, a transfer of

  copyright requires a written instrument of conveyance signed by the owner of the copyright. The

  unambiguous terms of the Letter Agreement contain no words of conveyance as to the original

  Series.

                 B.      The bargain made by the parties and reflected in the Letter Agreement

  concerns the Sequel only.

                 C.      The plain language of the Letter Agreement reserves to TTS the

  ownership of the Sequel and its elements, including those elements that are adopted from the

  Series. To the extent the Sequel includes elements borrowed from the original Series, TTS owns

  the expression of those elements as they appear and are used in the Sequel. The right to use such

  elements in the Sequel does not convey ownership of the entire Series to TTS.

                 D.      The consideration provided in the Letter Agreement is wholly inadequate

  to support a purported transfer of Caracol’s share of the copyright in the Series.

                 E.      The language of the Letter Agreement that makes a specific grant to TTS

  of the right to use elements from the Series in TTS’s production of the Sequel, and to have the

  exclusive right to produce and exploit the Sequel, contradicts an intention to assign Caracol’s

  share of ownership in the Series and its copyright. If such an assignment had been made, a grant

  of rights to make the Sequel would be unnecessary.

                 F.      The Letter Agreement was drafted by counsel for TTS and if there is any

  ambiguity in its language it must be construed against TTS. Further, counsel for TTS had every

  opportunity to include a statement of assignment of Caracol’s rights in clear and unambiguous

  language if that was intended by the parties.




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          31.     While disputes and claims arising under the Co-Production Agreement and the

  International Distribution Agreement are subject to resolution by arbitration, as agreed by the

  parties, the falsely claimed assignment of Caracol’s rights in the Series, and Caracol’s claimed

  rights in the subsequent Derived Series and in the Spinoff are based upon the construction of

  terms of the Letter Agreement, and is therefore a matter reserved for litigation and decision by

  this Court.

          32.     Telemundo’s violations of Caracol’s rights as an owner of a share of the copyright

  in the original Series, and Telemundo’s breaches of contract have resulted in damages to Caracol

  well in excess of $75,000.



                COUNT I – DECLARATORY JUDGMENT AS TO COPYRIGHT

          33.     Caracol incorporates by reference paragraphs 1 through 31 above, and re-alleges

  them here as though fully set forth herein.

          34.     An actual controversy has arisen and now exists regarding the joint ownership of

  the copyright in the Series under U.S. Copyright Law. Caracol contends that it remains the joint

  owner, with TTS, of the copyright in the Series, while TTS contends that Caracol has assigned

  its interest to TTS.

          35.     An actual controversy has arisen and now exists regarding the joint ownership of

  the copyright in the third, fourth, fifth, and sixth seasons, the Derived Series, of the telenovela,

  “El Señor de los Cielos,” and the Spinoff “El Chema.” Caracol contends that the Sequel, the

  Derived Series, and El Chema are derivative works of the original Series, and Caracol and TTS

  are therefore joint owners of the copyrights in the works that comprise the Derived Series and the

  Spinoff. Upon information and belief, TTS contends to the contrary that by the terms of the




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  Letter Agreement, Caracol assigned its copyright in the original Series to TTS, and that as a

  result TTS is the sole owner of all works derived from the original Series.

          36.     A judicial declaration is necessary and appropriate at this time under the

  circumstances presented in order that the parties may ascertain their respective rights.

          37.     Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, and Rule 57,

  Federal Rules of Civil Procedure, Caracol is entitled to a judicial determination of the parties’

  respective rights under U.S. Copyright Law.

          WHEREFORE, Plaintiff Caracol prays for a judicial declaration that an assignment of

  Caracol’s copyright in the Series was not made, that Caracol remains a joint owner, with TTS, of

  the Series and the copyright in the Series, including the format rights and other rights as

  described in the parties’ agreements, and that Caracol is a joint owner, with TTS, of the

  copyrights in the works derived from the Series, in particular, the works comprising the Derived

  Series, that is, the third, fourth, fifth, and sixth seasons of the telenovela, “El Señor de los

  Cielos,” and the Spinoff, that is, the series “El Chema,” and an award of costs of this suit.



                              COUNT II – BREACH OF CONTRACT

          38.     Caracol incorporates by reference paragraphs 1 through 32 above, and re-alleges

  them here as though fully set forth herein.

          39.     The Letter Agreement did not transfer Caracol’s interests in the Series and did not

  negate Caracol’s rights under the Co-Production Agreement and the International Distribution

  Agreement. TTS has breached the Co-Production Agreement and TI has breached the

  International Distribution Agreement, and the breaches are material.




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         40.     Telemundo’s breaches of contract caused Caracol to suffer damages exceeding

  $75,000, including but not limited to the loss of its share of revenues from the Derived Series,

  and from the Spinoff and from the licensing of format rights.

         41.     Caracol’s claims arising under the Co-Production Agreement and the

  International Distribution Agreement are agreed to be resolved through arbitration unless

  arbitration is waived.

         WHEREFORE, Caracol demands judgment against TTS and TI for damages, both pre-

  judgment and post-judgment interest, and the costs of this suit. In the alternative, if arbitration of

  the claims asserted in this Count II is not waived, Caracol prays that the claims in this Count II

  be stayed pending resolution by arbitration, that litigation of the remaining Counts continue, and

  that arbitration of the claims asserted in Count II be stayed pending a final ruling on Count I of

  this Complaint.



                                    COUNT III – ACCOUNTING

         42.     Caracol incorporates by reference paragraphs 1 through 32 above, and re-alleges

  them here as though fully set forth herein.

         43.     In breach of the provisions of the Letter Agreement, TTS has failed and refused to

  provide complete and timely quarterly statements regarding Foreign Net Sales for the Sequel.

         44.     In breach of the provisions of the Co-Production Agreement and the International

  Distribution Agreement, and in violation of Caracol’s rights as a co-owner of copyrights, TTS

  and TI have failed and refused to provide accountings regarding revenues received from the

  exploitation of the Derived Series and the Spinoff and from any licenses or options regarding the

  format of the Series.




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         45.     The amount of money due from TTS and TI to Caracol is unknown to Caracol

  and cannot be ascertained without an accounting as to the Foreign Net Sales realized by TTS and

  TI from the exploitation of the Sequel, as to the revenues received by TTS and TI from the

  exploitation of the Derived Series and the Spinoff, and as to the granting by TTS of one or more

  licenses and options regarding the format of the Series. Upon information and belief, the amount

  due to Caracol exceeds $75,000, but TTS and TI have failed and refused to render such

  accountings or to pay sums due.

         WHEREFORE, Caracol demands that TTS and TI be required to make an accounting,

  and that Caracol be awarded the costs of this suit.



                          COUNT IV – COPYRIGHT INFRINGEMENT

         46.     Caracol incorporates by reference paragraphs 1 through 23 and 25 above, and re-

  alleges them here as though fully set forth herein.

         47.     Prior to the production and release of the Series, Caracol had produced and

  exhibited two seasons of a telenovela titled “El Cartel” and” El Cartel 2,” each of which were

  first published in Colombia. Caracol owns the copyrights in “El Cartel” and “El Cartel 2,” and

  pursuant to the U.S. Copyright Act, registration of Caracol’s copyright claims with the U.S.

  Copyright Office is not a prerequisite to the filing of an action for infringement.

         48.     Nevertheless, Caracol’s copyright claims in episode 57 of “El Cartel” and episode

  34 of “El Cartel 2” have been registered with the U.S. Copyright Office, Registration Numbers

  PA0002115062 and PA0002115063, respectively, effective on July 16, 2018.




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         49.     The elements of “El Cartel” and “El Cartel 2,” and in particular the episodes in

  which Caracol’s copyright claims have been registered, include certain characters, story, and

  scenarios that were licensed by Caracol for use in the Series and in the Sequel.

         50.     Upon information and belief, TTS has continued the use of certain elements of

  “El Cartel” and “El Cartel 2” in its productions and licensing of the Derived Series and in

  commercial promotions, without seeking a license for such use and in violation of Caracol’s

  copyrights. While the Letter Agreement permitted TTS to use all elements of the original Series

  in the Sequel, TTS did not obtain permission to use elements of “El Cartel” and “El Cartel 2” in

  the subsequent Derived Series or in commercial promotions.

         51.     TTS has knowingly and intentionally infringed Caracol’s copyrights in “El

  Cartel” and “El Cartel 2” by copying certain elements into the Derived Series and in commercial

  promotions and licensing the distribution and exhibition of the infringing Derived Series.

         52.     Upon information and belief, TI and TNG have distributed, exhibited, and

  licensed the exhibition of the infringing Derived Series and commercial promotions, and have

  knowingly and intentionally infringed Caracol’s copyright in “El Cartel” and “El Cartel 2.”

         53.     Upon information and belief, TTS intends to produce a seventh season of “El

  Senor de los Cielos” that will include elements of “El Cartel” and “El Cartel 2” without

  permission from Caracol.

         54.     Upon information and belief, TTS intends to produce a spinoff series based upon

  a character featured in “El Cartel” and “El Cartel 2” without permission from Caracol.

         55.     The wrongful acts of TTS, TI and TNG have caused and are causing great injury

  to Caracol, which damage cannot be accurately computed, and unless this Court restrains the




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  Telemundo Companies from the further commission of these acts, Caracol will suffer irreparable

  injury, for all of which Caracol is without any adequate remedy at law.

          WHEREFORE, Caracol demands:

          (1) that the Telemundo Companies and all persons acting under their direction, control,

  permission or authority of each of the Telemundo Companies be preliminarily and permanently

  enjoined and restrained from distributing, publicly exhibiting, and licensing the distribution and

  exhibition of the Derived Series;

          (2) that TTS and all persons acting under its direction, control, permission or authority be

  preliminarily and permanently enjoined and restrained from producing works that infringe upon

  Caracol’s copyrights in “El Cartel” and “El Cartel 2,” from distributing such infringing works,

  and from licensing the distribution and exhibition of such infringing works;

          (3) that for their infringing acts committed prior to July 16, 2018, 2018, judgment be

  entered against the Telemundo Companies, jointly and severally, for damages and the costs of

  this suit;

          (4) that for their infringing acts committed on or after July 16, 2017, 2018, judgment be

  entered against the Telemundo Companies, jointly and severally, for statutory damages and the

  costs of this suit, including reasonable attorney fees; and

          (5) that this Court enter such other and further relief as may be just and equitable.



  Dated: September 5, 2018.

                                                 Respectfully submitted,

                                                 /s/David M. Rogero/
                                                 David M. Rogero, Esq.
                                                 Florida Bar No. 212172
                                                 David M. Rogero P.A.



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                                               2625 Ponce de Leon Boulevard, Suite 280
                                               Coral Gables, FL 33134
                                               Telephone: 305-441-0200
                                               E-mail: dmrogero@dmrpa.com;
                                               yhayala@dmrpa.com


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 5th day of September, 2018, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record, either via transmission of Notices of

  Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronic Notices of Electronic Filing.



                                               /s/David M. Rogero/




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                                      SERVICE LIST

  By Mail:

        Telemundo Television Studios, LLC
        Telemundo Internacional, LLC
        Telemundo Network Group, LLC
        c/o Registered Agent: C T Corporation System
        1200 South Pine Island Road
        Plantation, FL 33324

        Joshua R. Brown, Esq.
        Greenberg Traurig, P.A.
        450 So. Orange Avenue, Suite 650
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        brownjr@gtlaw.com




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                                CO-PRODUCTION AGREEMENT
                                    "El Sefior de los Cielos"

 This Co-Production Agreement ("Agreement") is made as of October 25, 2012, and effective as
 of June 29, 2012, by and between Caracol Television S.A. ("Caracol") and Telemundo
 Television Studios, LLC ("TTS") with respect to the production of a telenovela tentatively
 entitled "El Senor de los Cielos" (the "Series"). This Agreement shall supersede all prior oral or
 written understandings and agreements between Caracol and TTS with respect to the matter
 hereto, including that certain Co-Production Services Agreement Term Sheet dated June 29,
 2012. Caracol and TTS will each be referred to as "ffil:!y" and collectively as the "Parties".

  1. Conditions Precedent:

 The parties' obligations under this Agreement are conditioned upon and subject to: (a) the
 Parties' agreeing to a Budget for the Series, as set forth in Section 3.c. below; and (b) the
 execution of an International Distribution Agreement ("International Distribution Agreement")
 between Caracol and Telemundo Internacional, LLC ("TI"). If these conditions are not satisfied,
 the Agreement will terminate, and neither Party will have any further obligation to the other.

 2. Scope of the Agreement:

 The Parties will jointly develop, produce_in High Definition, own, and distribute the Series. The
 Series will be a Spanish-language telenovela consisting of a minimum of sixty (60) episodes and
 up to seventy-five (75) one-hour episodes (approximately forty-two [42] minutes running time).
 The Series will be based on TTS' s original script "El Senor de los Cielos" (the ' Original Script")
 which is owned by TTS. The Parties will share the territories for the foreign sales of the Series,
 as well as all revenues attributable thereto, in accordance with the International Distribution
 Agreement.

  3. Production/Budget/Approvals:

      (a) The Parties will consult jointly in all business, financial and creative issues relating to the
          production and exploitation of the Series, including the Budget and key creative
          elements, including, scripts and storylines; the inclusion of sponsorship and/or product
          integration (except that the inclusion of stand-alone paid sponsorship and/or product
          integration shall be mutually agreed by the parties); the selection of the executive
          producer and other producers; director(s) director(s) of photography; head writer;
          program title; opening and closing titles (including, without limitation, the format for the
          credits); number of episodes; principal cast; main locations, artwork, and theme and
          incidental music (with world-wide all media synchronization rights or any other rights
          required to be cleared by ITS unless the parties otherwise agree). Notwithstanding the
          foregoing, TTS's will maintain final approval of each and every aspect of the Series,
          except for the following key elements which will be mutually agreed pursuant to the
          procedure in this paragraph by the Parties: (i) Executive Producer; (ii) Principal Lead
          Actor of the Series; and (iii) Principal Cast. TTS will send proposals requiring mutual
          agreement to Caracol in writing and Caracol shall respond within 3 business days from



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         the proposal by TTS and if Caracol does not agree with the proposal, TTS will send
         another proposal and the parties should mutually agree within 2 business days. If the
         parties are unable to resolve a dispute regarding the foregoing production approvals, TIS
         decision shall be final and controlling. For clarity, the Parties hereto have already agreed
         that Joshua Mintz will be the Executive Producer of the Series, and that Rafael Amaya
         will be the Principal Lead Actor of the Series. Moreover, the Parties mutually agree that
         if a Party requests that characters or materials be added to the Original Script and/or
         storyline of the Series (the "Additional Materials"), such Party shall bear the
         responsibility of clearing all necessary rights for the inclusion and use of such Additional
         Material in the Original Script, storyline, and/or Series at its request.


     (b) All material business and creative decisions will be made by a four (4) person committee
         consisting of two (2) representatives appointed by Caracol and two (2) representatives
         appointed by TTS (the "Production Committee"). The representatives on the Production
         Committee will work in good faith to develop processes for timely exercising their
         approvals consistent with the production schedule for the Series (to be attached hereto
         when mutually agreed and as set forth in the Budget). All instructions, inquiries or other
         communications between the parties must be made in a timely manner.                    All
         communications with TIS will be directed only to Joshua Mintz or Rudy Weissenberg.
         All communications with Caracol will be directed only to Felipe Boshell or Alejandro
         Toro.

     (c) Each Party will pay fifty percent (50%) of the costs of producing the Series in monthly
         installments and in accordance with a cash flow schedule to be determined once the total
         budget has been created and agreed upon The Parties hereto mutually agree to a
         production budget of approximately One Hundred Forty Thousand Dollars (USD
         $140,000.00) per episode of the Series, with a maximum per episode ceiling of no more
         than One Hundred and Fifty Thousand Dollars (USO $150,000.00) ("Budget"). The
         Budget for the Series shall be prepared by TTS, but the Parties will jointly approve the
         Series' final Budget. The Budget will include: (i) the Development Costs (as defined in
         Section 3.c.i. below) and all direct and indirect costs and expenses associated with below-
         the-line and above-the-line production and/or delivery elements associated, directly or
         indirectly, with the Series, including but not limited to, all on-air talent, producers, and
         other production personnel, writers, scripts, directors, prompters, hand props, music
         synchronization and performance rights, technical crew, technical equipment, scenery,
         props, music performance rights, television studios facilities (collectively, "Production
         Costs"); (ii) any applicable production services fee for TIS, an affiliate of TTS or a third
         party not to exceed fifteen percent (15%) ("Studio Fee") of the net production Costs; (iii)
         the production and delivery schedule for the Series (to be attached hereto when mutually
         agreed); and (iv) a mutually-approved cash flow schedule on which the Parties will fund
         the Production Costs, and the Studio Fee, if any. Any Budget changes are subject to the
         mutual approval of the Parties, provided however, that any such changes do not
         unreasonably deteriorate TTS's production standards and quality of production.
         (i)     The Budget will provide for the reimbursement to TTS of the actual costs
                 incurred by TTS in developing the Series, which costs will be mutually agreed by



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                  the Parties. The Development Costs will include any license fees, or scripts fee
                  paid by TTS to the writer(s) of the Original Scripts.

          (ii)    If the Series utilizes the services of talent or other individuals who are under
                  contract with a Party (for example, an actor under contract with TTS), such Party
                  will be entitled to be reimbursed its direct, actual cost of providing such services
                  (including salary and benefits, etc.), without mark-up. Any other costs in the
                  Budget which represent payments for goods, services or materials will be at
                  reasonable, fair market rates, without mark-up.
          (iii)   If the Parties mutually agree to extend the Series beyond the number of episodes
                  contemplated in the Budget, they will mutually agree on an amendment to the
                  Budget to provide for extra costs, production schedule and cash flow for such
                  additional episodes.

          (iv)    Each party shall produce and borne the costs of producing its own promotional
                  materials for the on-air promotional campaign of the Series. If the Parties
                  mutually agree to create special material related to the Series for exploitation via
                  the Internet, or other digital/new media (such as via cell phones or other portable
                  devices, electronic sell-through, etc.) ("Digital Material"), the cost of producing
                  the Digital Material will not be included in the Production Costs, and the Parties
                  will mutually agree on a separate budget for the development and production of
                  any Digital Material.
          (v)     Any pre-approved overage in Production Costs for the series will be borne equally
                  by the Parties, and the Parties will equally share the benefit of any underage.
                  Overages not preapproved in writing by Caracol are borne by TTS, unless these
                  overages are the result of delays in approvals caused by Caracol not responding
                  on a timely manner.

           (vi)    TTS shall use commercially reasonable efforts to commence the production of
                  the Series during the 1st quarter of 2013 ("Projected Start Date").

  4. Deliverables and Technical Specifications

           (a) For the Series produced, TTS shall deliver to Caracol the materials specified in the
               Delivery Requirements and Technical Specifications to be attached hereto as
               Schedule B when mutually agreed by the parties.

      (b) Throughout the production period, TIS will deliver to Caracol:

                      1.   Costs Reports, Monthly costs reports fifteen ( 15) business days after the
                           prior month's close and a final cost report within sixty (60) calendar days
                           of completed production. Each cost report will include: (i) the current cost
                           status; (ii) overages and underages and a brief explanation of why; (iii)
                           changes from the last cost report; (iv) an estimated final cost, and (v) such
                           other information reasonably required by Caracol; and




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                       11.   Production Reports. TTS shall deliver production reports to Caracol which
                             shall include: i) total minutes filmed; (ii) total scenes filmed; (iii) number
                             of episodes closed in production; (iv) number of episodes closed in post-
                             production;(v) number of episodes delivered; (vi) number of episodes to
                             be delivered; (vii) a detailed description of any production issues; (viii) a
                             detailed description of any script issues; and (ix) such other information
                             reasonably required by Caracci. The Production Reports shall be delivered
                             on a bi-weekly basis, within a reasonable time after the end of the
                             corresponding production week(s).

                      m.      TTS will keep full and complete records of all transactions for the Series
                             for three (3) years after delivery of the last episode for the Series to
                             Caracol. Caracol shall have the right, at its own cost, to audit and make
                             copies of any such records at a reasonable time and place , and within
                             thirty (30) days prior written notice.

  5. Ownership; Copyright; Credits:

       (a) Ownership: From inception through all stages of completion, the Series and all elements
           thereof will be jointly and exclusively owned by the Parties throughout the world, except
           that ITS will have the exclusive exploitation, commercialization, and/or distribution
           rights of the Series in the United States (including its territories and possessions) ("TTS
           Territory") and Caracol will have the exclusive exploitation, commercialization and/or
           distribution rights of the Series in Colombia ("Caracol Territory"). The Parties will own
           and control all exclusive, irrevocable and perpetual right, title and interest (including
           copyright, as further defined below), throughout the universe in and to the Series and all
           elements or portions thereof, including all raw footage, from the inception of production,
           in any and all media and formats, now known or hereafter devised, in perpetuity,
           including without limitation all literary, dramatic, or other material contained therein, all
           characters, concepts, properties, elements, names and titles contained therein and the
           results and proceeds of the services of all persons and entities rendering services in
           connection therewith, including the right, within the Parties' discretion, to exploit all
           ancillary and subsidiary rights in and to the Series, as further defined and restricted in the
           International Distribution Agreement.

             (b). Remake, Spinoff, Sequel Rights. In the event that either Party is interested in
            creating and/or producing or licensing a Remake, Spinoff, or Sequel based on the Series
            (each a "Derived Series"), such Party shall offer to the other Party the option to become a
            co-producer in the creation, production, and exploitation of such Derived Series. The
            commercial terms and conditions of such co-production shall be substantially similar to
            those agreed upon in this Agreement. If the Party that receives the offer to co-produce the
            Derived Series rejects the offer in writing, then the Parties shall negotiate in good faith
            during a period of sixty (60) days following the notice of rejection the terms under which
            the interested party may be granted the sole right to produce the Derived Series, Such
            terms shall include at a minimum: (a) a license fee equal to fifty-percent (50%) of the
            market rate value of the re-make, spin-oft~ and/or sequel rights; and (b) a right of first



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           refusal to obtain the exhibition rights to the Derived Series in either Colombia or the
           United States (including its territories and possessions), as the case may be.


      (c) Copyright of the Series: Except as otherwise set forth in Section 4.a. above, the Parties
          will jointly and exclusively own the copyright and other intellectual property rights in
          and to the Series, including all Ancillary Rights, in perpetuity throughout the world.
          "Ancillary Rights" means those allied and ancillary rights in and to the Series, including
          all merchandising, publishing, linear and non-linear programming, and all forms of
          internet, mobile, and home entertainment rights. The Parties will cooperate with each
          other and equally bear any costs relating to (i) the registration for copyright (or similar
          intellectual property right) protection in any territory where the Parties mutually deem
          such filings to be advisable; and (ii) the enforcement or protection of any such rights.
      (d) Copyright of the Original Script. The Parties will jointly and exclusively own the
          copyright and other intellectual property rights in and to the Original Script in perpetuity
          and throughout the world. No license, distribution or exploitation of any kind may be
          granted by either Party to third parties without the written approval of both Parties.

      (e) Credits: At the end of each episode of the Series, the following credit, or a similar agreed
          upon credit, will be included, followed by the logo and joint copyright of the Parties
          "Una co-producci6n de Telemundo Television Studios y Caracol Television S.A."

      (t) Anti-Piracy: TIS will retain the right to prevent the unauthorized exploitation of of the
          Series worldwide. TTS will discuss and coordinate the effort to prevent such
          unauthorized use with Caracol,


  6. Exploitation of the Series:

      (a) Exploitation of the Series:

                      1.   TIS and/or its affiliates shall have the exclusive right to freely and fully
                           exploit the Series (including the Ancillary Rights) in the TTS Territory in
                           all media, in perpetuity. TTS shall also have the right to freely and fully
                           exhibit the Series through any current or future Telemundo pay-TV
                           channel in the territories that receive such channel, in perpetuity, only
                           aner Caracci has completed its initial broadcast channel exhibition of the
                           Series in Colombia and subject to Section 6 (a) (iii) below

                     11.   Caracol shall have the exclusive right to freely and fully exploit the Series
                           (including the Ancillary Rights) in the Caracol Territory in all media, in
                           perpetuity. Caracol shall also have the right to freely and fully exhibit the
                           Series through any current or future Caracol pay-TV channel in the
                           territories that receive such channel, in perpetuity, only after TTS has
                           completed its initial broadcast channel exhibition of the Series in the




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                            United States (its territories and possessions) and subject to Section 6 (a)
                            (iii) below.

                     111.   Notwithstanding the foregoing in subsections (i) and (ii) above, the parties
                            agree that the first window for the exploitation rights in pay TV platform
                            in pan regional Latin America shall be carried out by a third party in
                            accordance with the terms of the International Distribution Agreement.
                            TTS and Caracol's right to freely exploit the Series through their
                            respective pay-TV channels shall only become effective after the
                            expiration of the exhibition window of such third party licensee.

                     iv. Caracol and TTS will have the right to distribute and exercise the
                         Exploitation Rights (as such term will be defined in the International
                         Distribution Agreement) to the Series (including the Ancillary Rights), in
                         the Caracci Distribution Territories and Telemundo Distribution
                         Territories; as such terms are defined in, and in accordance with the
                         conditions of, the International Distribution Agreement. No later than
                         thirty (30) days after commencement of the production of the Series,
                         Caracol and TI will agree on: a) which party will be responsible for the
                         exclusive distribution of the Series in a specific country or region, except
                         that TI will be the exclusive distributor of the Series in Mexico; and b) the
                         minimum gross price per episode of the Series to be applied to the
                         sublicenses in each region or country included in the respective territories.
                         After the termination of the International Distribution Agreement, the
                         exploitation of any of the rights referred to in this Section may only be
                         exploited upon the prior consent of the Parties.


       7.   Representations and Warranties; Indemnity:

       (a) Each Party represents and warrants to the other that: (i) it has the full legal right, power,
           and authority to enter into and perform this Agreement; and (ii) it has not done and will
           not do any act or enter into any agreement, and is not party to any agreement, which
           would violate or might interfere with the performance of its obligations under this
           Agreement.

       (b) TIS represents and warrants that TTS has obtained all rights, title and interest and
           control in and to the Series' underlying rights necessary for the Parties to fully exploit all
           rights and obligations hereunder, except that TTS makes no representation or warranty
           with respect to the clearance of the underlying rights necessary for the use of Additional
           Materials in the Original Script, storyline, and/or Series that have been added to such
           Original Script, storyline and/or Series at the request of Caracol TTS will indemnify and
           hold harmless Caracol, its corporate affiliates, and their respective officers, directors,
           agents, and employees from any and all claims, losses, actions or proceedings of any kind
           (including reasonable legal fees and costs) relating to or arising from the Series
           underlying rights, with the exception of claims related to or arising from the use by TIS



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            or Caracol of the Additional Materials included in the Original Script, storyline and/or
            Series at the request of Caracol, and provided however that TTS will not indemnify
            Caracol for any claim of lost profits.

       (c) TTS represents and warrants that as of date hereof, there are not any liens, claims,
           encumbrances, legal proceedings, restnct10ns, agreements, arrangements or
           understandings which might conflict or interfere with, limit, derogate from, be
           inconsistent with or adversely affect any of the other parties rights hereunder and quiet
           enjoyment of the same by the other party and their respective licensees, successors and
           assigns.

       (d) TIS represents and warrants that in the production of the Series, all laws, statutes,
           ordinances, rules and regulations applicable in the United States (and in all other
           locations where the Series is filmed or produced) have been, are being and shall be
           complied with in all material respects, as will all of the rules, regulations and
           requirements of any union, guild, and/or collective bargaining organization having
           jurisdiction thereof.

       (e) Each Party will indemnify and hold the other Party, its parent, subsidiaries and related
           affiliates, and their respective officers, directors, agents, and employees harmless from
           any and all third party claims, actions or proceedings of any kind and from any and all
           damages, liabilities, costs and expenses, including reasonable legal fees and costs,
           (collectively, "Claims") relating to or arising out of: (i) any breach or alleged breach of
           any of the warranties, representations or agreements of the indemnifying Party; (ii) any
           error or omission in any of the material or information furnished to the indemnified Party
           in accordance with this Agreement; or (iii) the exercise by the indemnified Party of the
           rights granted to it hereunder. If the indemnified Party fails to promptly commence to do
           so after written notice from the indemnified Party and/or diligently pursue to a resolution
           that the indemnified Party reasonably deems necessary or desirable, the indemnified
           Party will have the right to adjust, settle, litigate and take any other action the
           indemnified Party deems reasonably necessary or desirable for the disposition thereof, as
           determined by the indemnified Party in its good faith business judgment. In any such
           event, the indemnifying Party will reimburse the indemnified Party on demand for all
           reasonable amounts paid or incurred by the indemnified Party as a result thereof.


  7.    Defaultffermination:

       (a) Either Party may terminate this Agreement upon the commission of (i) a material breach
           of this Agreement by the other Party which is not capable of remedy or (ii) a material
           breach of this Agreement by the other Party which is capable of remedy, but which has
           not been remedied within a period of thirty (30) days after the non-breaching Party has
           delivered written notice to the breaching Party specifying the breach and requiring it to be
           remedied; provided, however, that such thirty (30) day period will be extended for such
           additional period as will be reasonably necessary if such breach is incapable of remedy




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            within thirty (30) days and during such period the breaching Party diligently endeavored
            to remedy the breach.

       (b) Either Party will have the right, in addition to any other rights and remedies it may have,
           to terminate this Agreement if the other Party seeks relief under any bankruptcy or
           insolvency statute, makes an assignment for the benefit of creditors, or is placed in
           receivership.

       (c) No termination of the Agreement for any reason will relieve or discharge a Party from
           any duty, obligation, or liability which arose or accrued as of the date of such termination
           (including, the obligation to pay any amounts owing as of such date of termination), nor
           will it affect in any manner whatsoever the ownership of the copyright and other
           intellectual property rights in and to the Series.

  8.    Force Maieure:

  Subject to Section 7 (c) above, in the event that either Party is prevented from performing any of
  its obligations under this Agreement or the production of the Series is prevented or delayed due
  to an act of God, strike, labor dispute, flood, fire, war or act of terrorism, riot or civil
  commotion, public disaster, order or act of government or any other cause or reason beyond such
  Party's control ("Force Majeure"), the Parties will meet in good faith and discuss alternative
  methods for continuing production of the Series during the continuation of the Force Majeure
  event. If such meetings do not result in a mutually agreeable resolution to the issues arising from
  the Force Majeure event, either Party, in its sole discretion, may terminate this Agreement
  without further obligation.

  9. Assignment:

  Neither Party may assign its rights or obligations under this Agreement to any person or entity;
  except that either Party may assign its rights and obligations to any affiliated company or to any
  acquirer of all or substantially all of the assets of or equity interests in such Party.

   10. Miscellaneous:

       (a) Notices. Any notices, demands, consents, agreements, requests or other
  communications which may be or are required to be given, served or sent by any Party to any
  other Party or obtained from any Party pursuant to this Agreement must be in writing and must
  be (i) mailed by first-class mail, registered or certified, return receipt requested, postage prepaid;
  (ii) hand delivered personally by independent courier; or (iii) transmitted by fax addressed as
  follows:

  If to Caracol:

                          Caracol Television S.A.
                          Calle 103, #69B-43
                          BogotaD.C.



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                         Colombia


   Ifto TTS:

                         Telemundo Television Studios, LLC
                         2290 West 8th A venue
                         Hialeah, Florida 330 I 0
                         Attn: Business Affairs Department
                         Fax: 305-889-7926

  Each Party may designate by notice in writing a new address to which any notice, demand,
  consent, agreement, request or communication may thereafter be so given, served or sent. Each
  notice, demand, consent, agreement, request or communication which is mailed, hand delivered
  or transmitted in the manner described above will be deemed received for all purposes at such
  time as it is delivered to the address (with the return receipt, the courier delivery receipt or the
  fax answer back confirmation being deemed conclusive evidence of such delivery) or at such
  time as delivery is refused by the addressee upon presentation.

      (b) Beneficiaries. This Agreement will inure to the benefit of and be binding upon the Parties
          and their permitted successors and permitted assigns.

      (c) Insurance. TIS shall at all times during the production of the Series, procure and maintain
          all reasonable, legally required and customary insurance mutually approved by the parties
          for the production of the Series in the country or countries where the series shall be
          produced. Upon the commencement of pre-production for each Series, TTS will deliver to
          Caracol appropriate certificates of insurance or endorsements indicating that:

         I. Caracol, its parent(s), subsidiaries, related and affiliated companies, successors and
            licensees and their officers, directors, employees, representatives, agents and assigns of
            the foregoing     (collectively the "Caracol Entities") will be included as additional
            insured under the insurance described herein.

         2. Such insurance is primary to and noncontributory with all other insurance available to
            such additional insured.

         3. Will provide Caracol with thirty (30) calendar days prior written notice of cancellation of
            any of the insurance required herein.

         4. It is expressly understood that any and all deductibles relating to any losses and claims
            filed under such insurance will be borne solely by TIS.

  In addition, TIS will use commercially reasonable efforts to obtain certificates of insurance or
  endorsements that include a provision indicating that the insurer waives all rights of subrogation
  against the Caracci Entities.      TTS shall furnish Caracol with the appropriate certificates of
  insurance or endorsements stating and certifying the an1ounts and types of insurance and that the
  Caracol Entities are additional insured under such insurance.


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   (d) Dispute Resolution, Applicable Law and Forum. This Agreement, the rights and obligations
  of the Parties, and any claims or disputes relating in any way thereto will governed by the laws
  of the State of Florida, without regard to its choice of law principles. Any dispute arising out of
  this Agreement shall be resolved according to the procedures set forth in this section, which shall
  constitute the sole dispute resolution mechanisms hereunder. In the event that the Parties are
  unable to resolve any dispute after meeting and attempting in good faith to reach a negotiated
  resolution, such dispute(s) shall be resolved through binding arbitration conducted according to
  the JAMS Comprehensive Arbitration Rules and Procedures in effect as of the date hereof (the
  "Arbitration Rules"). The seat of arbitration shall be Miami-Dade County, before a single
  neutral arbitrator appointed in accordance with the Arbitration Rules. The arbitration will be a
  confidential proceeding, close to the general public. The arbitrator will issue a written opinion
  stating the essential findings and conclusions upon which the arbitrator's award is based. The
  Arbitrator will be prohibited from granting a costs award to either Party. The Parties will share
  equally in payment of the arbitrator' s fee and arbitration and any other costs unique to the
  arbitration hearing (recognizing that each side bears its own deposition, witness, expert and
  attorneys' fees and other expenses to same extent as if the matter were being heard in court). If
  either Party refuses to perform any or all of its obligations under the final arbitration award
  within thirty (30) days of such award being rendered, then the other Party may enforce the final
  award in any court of competent jurisdiction in Miami-Dade County, and each of the Parties
  hereto unconditionally submits to the jurisdiction of such court for the purpose of any proceeding
  seeking such enforcement. The Parties shall maintain the confidential nature of the arbitration
  proceeding and any award, including any arbitration hearing, except as may be necessary to
  prepare for or conduct the arbitration hearing on the merits, or except as may be necessary in
  connection with a court application for a preliminary remedy, a judicial challenge to an award or
  its enforcement, or unless otherwise required by law or judicial decision. The Parties hereto
  waive, to the fullest extent they may do so effectively under applicable law, any objection they
  may have to the laying of the venue of any proceeding or that any proceeding brought in Miami-
  Dade County has been brought in an inconvenient forum. The Parties expressly waive any right
  to a jury trial.

  (e) Counterpart. This Agreement may be executed in counterparts, and it will not be necessary
  that the signatures on behalf of each Party appear on each counterpart. All counterparts will
  collectively constitute a single Agreement.

  (f) Modification. This Agreement may not be amended or modified or any provision or
  obligation waived or changed except by a writing executed by the Parties.

  (g) Severability. Any provision of this Agreement that is prohibited or unenforceable in any
  jurisdiction will, as to such jurisdiction, be ineffective to the extent of such prohibition or
  unenforceability without invalidating the remaining provisions of this Agreement and any such
  prohibition or enforceability in any jurisdiction will not invalidate or render unenforceable such
  provision in any other jurisdiction. To the maximum extent permitted by applicable law, the
  Parties waive any provision of law that renders any provision of this Agreement prohibited or
  unenforceable in any respect.




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  (h) No waiver. No failure or delay of any Party in exercising any power or right under this
  Agreement will operate as a waiver thereof, nor will any single or partial exercise of any such
  right or power, or any abandonment or discontinuance of steps to enforce such a right or power,
  preclude any other or further exercise thereof of the exercise of any other right or power.

  (i) Confidentiality. No party to this agreement will disclose, directly or indirectly, in whole or in
  part, to any third person, firm or corporation, any Confidential Information (as defined below)
  which it receives or may previously have received from the other party, except that any such
  information may be disclosed to a party's directors, officers and employees in connection with
  the Agreement, to the extent that party reasonably determines such disclosure to be necessary.
  Neither party will use the Confidential Information for its own benefit, or copy or reproduce the
  Confidential Information, except as provided in this section. Each party will use the same degree
  of care in safeguarding the Confidential Information as it uses for its own confidential and
  proprietary information.

  For purposes of this Agreement, "Confidential Information" will mean any and all information,
  scripts, data, reports, summaries, documentation, and materials provided or disclosed by any
  party to the other party in connection with the Agreement and/or the information deemed
  confidential relating to the businesses, operations and affairs of any party thereto and its related
  and affiliated companies. Notwithstanding the foregoing, information and data disclosed will not
  be deemed to be Confidential Information, and the receiving party will have no obligation to
  treat such information and data as Confidential Information if, such information and data (a)
  before being used or disclosed by any party has become publicly known through no wrongful act
  of that party or has been approved for release by written authorization of the party owing such
  Confidential Information; (b) was already known to or in possession of the other party; (c) has
  been independently developed by the other party, its employees or contractors without prior
  access to any Confidential Information; (c) or has been disclosed pursuant to a requirement of a
  government agency, or of law, provided prior notice of such required disclosure is given to the
  disclosing party.

  G) No Third Party Beneficiary. The provisions of this Agreement are solely for the benefit of the
  Parties and are not intended to benefit any third party, whether sponsors, viewers or otherwise,
  and no third party will be deemed to have any privity of contract by virtue of this Agreement.

  (k) Relationship of the Parties. The relationship between the Parties is that of two principals
  dealing with each other as independent contractors. This Agreement does not create and it is not
  the intention of the Parties to create a partnership, joint venture, association or trust between the
  Parties. Neither Party has the right, power or authority at any time to act on behalf of, or
  represent, the other Party, but each Party hereto will be separately and entirely liable for its own
  debts in all respects. No agency relationship is intended to be created by this Agreement.

  (1) Remedies. No remedy conferred by any of the specific provisions of this Agreement is
  intended to be exclusive of any other remedy which is otherwise available at law, in equity, by
  statue or otherwise and except as otherwise expressly provided for in this Agreement. The
  election of one or more of such remedies by any Party will not constitute a waiver by such Party
  of the right to pursue any other available remedies.



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  (m) Captions. Section or other headings contained in this Agreement are for reference purposes
  only and will not affect in any way the meaning or interpretation of this Agreement. No
  provision of the Agreement will be interpreted for or against any party because that party or its
  legal representative drafted the provision.

  (n) Entire Agreement. This Agreement constitutes the entire agreement of the Parties with
  respect to its subject matter and supersedes all prior written and oral agreements and
  understandings of any kinds.




  EXECUTED by the Parties on the date set out at the head of this Agreement.



  ACCEPTED AND AGREED

  TELEMUNDO TELEVISION STUDIOS LLC


 By:~                                     <                  ~-                    ~
  Name:    t.J ~qi~~~ {                                       avier Maynule

  Title:   '5"'r: Y/
                   •
                              ~                              Chief Financial Officer



  CARACOL TELEVISION S.A.


 7ly!          J                                ~
  Print Name: .:IoQ..G; N 4-a_-17 .-vc::;- )-
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                      INTERNATIONAL DISTRIBUTION AGREEMENT


   This International Distribution Agreement ("Distribution Agreement") is made as of October 25,
   2012 (the "Effective Date"), by and between Telemundo Internacional, LLC, a company
   organized and validly existing under the laws of the State of Delaware, USA, hereby duly
   represented by the undersigned ("Tl"), and Caracol Television S.A., a company organized and
   validly existing under the laws of Colombia hereby duly represented by the undersigned
   ("Caracol"). TI and Caracol are hereinafter jointly referred to as the " Parties".

   l . Conditions Precedent:

   The Parties' obligations under this Distribution Agreement are conditioned upon and subject to
   the concurrent execution of a Co-Production Agreement ("Co-Production Agreement") between
   Telemundo Television Studios LLC ("TTS") and Caracol, if these conditions are not satisfied,
   the Distribution Agreement will terminate, and neither Party will have any further obligation to
   the other.

   2. Definitions:

   Except as otherwise provided herein, capitalized terms in this Agreement shall have the meaning
   ascribed to them below.

   "Accounting Period"          Has the meaning set forth in Section 7.2.

   "Accounting Statement"       Has the meaning set forth in Section 7.4.

   "Additional        Delivery Other material to be agreed by the Parties, including
   Material"                   pre- and post-sale material and promotional material
                               pertaining to the Series.

   "Caracol        Distribution To Be Determined.
   Territories"
                                Sub-masters of the Series in either (i) HD NSTC Pal or
   "Delivery Material"          Hard Drive HD Pal format (and as further provided in
                                Section 8), with respective transcripts, M&E track and
                                music cue sheets.

   "Distributor"                Either Tl or Caracol, depending on whether it is a
                                Telemundo Distribution Territory or a Caracol
                                Distribution Territory.

   "Exploitation Rights"        The right to:

                                 i)     Record and publish the Series, whether edited
                                        or not;


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                           ii)    reproduce and adapt the Series;
                           iii)   sample and/or play-back and/or post-
                                  synchronize, publish on any width of films,
                                  videotapes and videocassettes, videodisks, CD-
                                  videos, CD's, Cdi, sound tapes, films, tape
                                  slides, photos, holographs, three dimensional
                                  representations, digital and computer recordings
                                  of the Series;
                           iv)     exploit          the       recording           and
                                  reproduction/adaptations of the Series on
                                  picture and sound carriers such as wide-screen
                                  HDTV, CDROM, computer networks (for
                                  example Internet) and interactive TV;
                          v)      offer and have in stock, broadcast or cause to be
                                  broadcast and distributed by all media in
                                  whatever manner or frequency, whether such
                                  media are known and existing now or in the
                                  future (including but not limited to digital TV,
                                  free TV, pay TV, Pay-Per-View, VOD, NVOD,
                                  theatrical and non-theatrical releases, videos,
                                  Internet, and similar or ancillary media) the
                                  Series;
                           vi)     any other publication or multiplication in
                                  whatever manner of the Series or reproductions
                                  or adaptations thereof, or any other exploitation
                                  possible presently or in the future;
                           vii)   the right to exploit any and all ancillary rights in
                                  and to the Series. Ancillary Rights includes
                                  Home Entertainment/Home Video, Mobile,
                                  Internet, Streaming VOD, NVOD, including (a)
                                  the right to sublicense the Exploitation Rights of
                                  the Ancillary Rights consisting of Home
                                  Entertainment/Home Video to any third party,
                                  including local Home Video distributors in
                                  either the Telemundo Distribution Territories or
                                  the Caracol Distribution Territories, as the case
                                  may be;        (b) the right to sublicense the
                                  Exploitation Rights of the Ancillary Rights
                                  consisting of Mobile exploitations to any third
                                  party, including local Mobile carriers in either
                                  the Caracol Distribution Territories or the
                                  Telemundo Distribution Territories, as the case
                                  may be, but, for the avoidance of doubt, Mobile
                                  Exploitations may include the Mobile carriers'
                                  customers right to activate the roaming
                                  functionality in their Mobile devices and


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                                  thereby have access to the Series in territories
                                  located outside of the corresponding Telemundo
                                   Distribution    Territories    and/or    Caracol
                                  Distribution Territories, where the sublicenses
                                  with the Mobile carriers were originally closed;
                                  and (c) the right to sublicense the Exploitation
                                  Rights of the ancillary rights consisting of
                                  Internet, Streaming, VOD (on the Internet), to
                                  any third party (including Internet carriers
                                  and/or aggregators) with a principal office or
                                  base of operations located in either the
                                  Telemundo Distribution Territories or the
                                  Caracol Distribution Territories, as the case may
                                  be, provided that ( 1) should Distributor intend
                                  to sublicense such rights on an exclusive basis
                                  for any of its respective Territories, Distributor
                                  shall fully consult with the other party before
                                  closing any such deal; and/or (2) should
                                  Distributor intend to sublicense such rights in a
                                  way that may reach territories outside the
                                  respective Telemundo Distribution Territories
                                  and/or     Caracol    Distribution     Territories,
                                  Distributor shall always do it on a non-exclusive
                                  basis and must fully consult with and obtain
                                  written authorization from the other Party,
                                  before closing any such deal. For the avoidance
                                  of doubt, sublicensees referred to in this
                                  subsection, reaching territories outside the
                                  respective Telemundo Distribution Territories
                                  and/or the Caracol Distribution Territories, as
                                  the case may be, shall not reach Mexico, nor
                                  USA (sublicenses entered into by Caracol), or
                                  Colombia (sublicenses entered into by
                                  Telemundo).

                          viii)   the right to sublicense Exploitat ion Rights
                                  under i) - vii) to any third party, including
                                  television distributors m the Telemundo
                                  Distribution Territories and the Caracol
                                  Distribution      Territories    respectively
                                  ("Sublicense");

  "Gross Revenues"        100% of all gross money and income of every kind
                          actually received directly or indirectly by either
                          Distributor, from the exercise of their Exploitation
                          Rights in their respective Territories. In any such case,


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                                the Gross Revenues shall include all sums ansmg
                                whether or not by way of judgment, settlement or
                                compromise for infringement or interference with any
                                of the Exploitation Rights, and any and all advances,
                                minimum guarantees and security deposits whether or
                                not earned, refundable or recoupable;

   "Net Revenues"               Gross Revenues less (a) any applicable Taxes; (b) the
                                reasonable costs of dubbing or subtitling the Program to
                                other languages, as are necessary in order to license the
                                Series to different markets pursuant to the terms of this
                                Agreement; (c) expenses incurred by the Distributor for
                                the copying and delivering of the material/tapes
                                ("Copying and Delivery Costs") necessary for the
                                exercise of the Exploitation Rights, as the case may be.
                                The expenses referred to in (b) and ( c) above shall be
                                limited to an amount to be agreed by the Parties. The
                                Parties agree to use their best efforts to minimize
                                dubbing or subtitling, as well as the Copying and
                                Delivery Costs, and to use the delivery technique
                                commonly known in the television industry as
                                "Bicycling" where clients send each other materials
                                directly. The total of the expenses identified in (b) and
                                (c) above will be capped at five percent (5%) of Gross
                                Revenues (excluding subtitling and dubbing costs
                                previously approved by both Parties).

   "Series"                     As defined in the Co-Production Agreement.

   "Taxes"                      The withholding tax, or any other comparable tax, if
                                any, which the Distributor may be required to pay on
                                the Gross Revenues in the country from which such
                                Gross Revenues originate, excluding however any
                                corporate income tax or any other tax which the
                                Distributor may be required to pay if it is deemed to
                                have a permanent establishment in such country.

   Telemundo       Distribution Mexico, and such other Territories as the Parties may
   Territories"                 mutually agree.

   "Territories"                Telemundo Distribution Territories and Caracol
                                Distribution Territories may be collectively referred to
                                as Territories.

   3. Term:



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   3 .1   This Distribution Agreement is in effect for ten (10) years from the earlier of (i)
          beginning of: (i) beginning of the first exhibition in the US (or Puerto Rico); or (ii) one
          year from the end of the production, subject to earlier termination under Section 16
          ("Termination"). The Parties may start promoting the Series to any potential clients as of
          the Effective Date, but the Parties will mutually agree on an official launch date of the
          Series in the international market. For the avoidance of doubt, the Term of this
          Agreement is not related to the duration of any license entered into with clients, which
          Licenses may extend beyond the expiration of the Term.

   3.2    Upon termination of this Distribution Agreement, neither party may exploit the Series
          without the written consent of the other.

   4. Grant of Rights:

   4.1.   TI will have the exclusive right to exercise the Exploitation Rights in and to the Series in
          the Telemundo Distribution Territories.

   4.2.   Caracol will have the exclusive right to exercise the Exploitation in and to the Series in
          the Caracol Distribution Territories.

   5. Distribution of the Series:


   5.1.   TI agrees to make the Delivery Material available for the exercise of the Rights by
          Caracol, duly edited and formatted as a continuous and sequential telenovela consisting
          of episodes of an average running time of 42-45 minutes.

   5.2.   No later than thirty (30) days after commencement of the production of the Series, the
          Parties will agree on: (i) the countries and/or regions to be included in the definitions of
          Telemundo Distribution Territories and/or Caracol Distribution Territories respectively,
          except that Mexico shall remain a Telemundo Distribution Territory, with a minimum
          guaranteed gross price per episode of Thirteen Thousand Dollars (USD $13,000.00); and
          (ii) a minimum gross price per episode of the Series to be applied to the sublicenses in
          each region or country included in the Parties' respective Territories ("Minimum
          Regional Price").

   5.3.   Distributor will have exclusive control over all matters relating to the Exploitation Rights
          in its Territories, provided that all Sublicenses of " re-runs" to the Series, as this term is
          commonly understood in the business, will be at a minimum re-run price of fifty-percent
          (50%) of the initial or first run price applied in that Territory (with the exception of
          Mexico) in accordance with Schedule A. Notwithstanding the foregoing, Tl will use
          reasonable commercial efforts to obtain a fifty-percent (50%) of the initial or first run
          price for the re-run in the territory of Mexico.

   5.4.   Distributor shall each use its best efforts to exercise the Rights to its full potential in its
          respective Territories. The exercise of the Exploitation Rights with any third parties by
          Distributor will be on an arm's length basis.

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   5.5.   Any and all agreements executed by Distributor in connection with the exercise of the
          Exploitation Rights will (i) incorporate the applicable terms of this Distribution
          Agreement; (ii) be consistent with industry custom and practice; and (iii) will be made
          and entered into by Distributor under its own name and not as an agent of the other Party
          to this Distribution Agreement.

   5.6.   Upon execution of this International Distribution Agreement, the Parties will mutually
          agree on a process and guidelines related to the screening of sublicensees (i.e., know your
          customer) to be implemented by the Parties prior to execution of any Sub license.

   5.7.   TI and Caracol will comply with all laws, regulations, statutes and legal rules of any kind
          in effect within their respective Territories, and shall not engage in irregular practices or
          transactions that could adversely affect the reputation of either Distributor or its
          respective trade name.

   5.8.   Caracci will distribute the Series as provided by TI, without any changes, additions, or
          deletions, provided that Caracol (and its sublicensees) may only make (i) changes strictly
          necessary to comply with local laws, regulations, censorship requirements and/or (ii)
          minor edits to adjust to time segment requirements. Any other edits or changes will
          require written approval by the Parties.

  5.9.    The Parties undertake to negotiate and agree in good faith regarding the dates for the
          delivery of the Additional Material and the operational details and mechanisms of the
          international distribution of the Series.

  6.      Consideration:

  6.1.    In connection with the exercise of the Exploitation Rights in the Telemundo Distribution
          Territories, TI shall pay to Caracol fifty percent (50%) of Net Revenues.

  6.2.    In connection with the exercise of the Exploitation Rights in the Caracol Territories,
          Caracol shall pay to TI fifty percent (50%) of Net Revenues.

  6.3.    The Parties agree that no distribution commissions or fees will be charged by either party.

  6.4.    All costs and expenses relating to promotional and marketing efforts for the international
          distribution of the Series incurred by each Party shall be entirely borne by such Party
          (and may not be deducted from the Gross Revenues for revenue split purposes).
          Notwithstanding the foregoing, the Parties may agree to share costs and expenses for
          special promotions, marketing or public relations campaigns, efforts or events as agreed
          from time to time by the Parties.

  6.5.    Distributor will deliver to the other Party the relevant Tax certificate evidencing any and
          all amounts withheld for tax purposes, if any.

  7.      Accounting Records & Payments:

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   7.1.   The Parties will maintain true and accurate books of account and records which will
          reflect all revenues and expenses of the Parties' Exploitation Rights under this
          Distribution Agreement. Each Party shall render to the other within thirty (30) days
          counting from the end of each calendar quarter (" Accounting Period") a statement
          including:

   7.2.   The Gross Revenues obtained from the exercise of the Exploitation Rights, during the
          applicable Accounting Period including the following information regarding the
          Sublicenses signed by Distributor: name of sublicensee, term, and price per episode.

  7.3.    A statement of sales and accounts reflecting, in summary form, the Gross Revenues and
          amounts withheld, payable or deductible thereunder ("Accounting Statement").
          Accounting Statements may be changed from time to time to reflect year-end
          adjustments, to correct errors and for similar purposes.

  7.4.    Any amounts due and payable hereunder for the period covered by any Accounting
          Statement shall be paid by the relevant party to the other, in US Dollars, no later than ten
          (I 0) days upon receipt of the invoice by the applicable Party.

  7.5.    Subject to the applicable laws, if either Party owes the other any amounts under this
          Distribution Agreement and, at the same time such Party has a credit against the other
          Party under this Distribution Agreement, the Parties may, upon notification and approval
          by the receiving Party, compensate any amounts due and pay the balance, if any, to the
          other Party.

  7.6.    Distributor shall keep accurate and detailed records and books of account relating to any
          exercise of its respective Exploitation Rights. Each Party is entitled to exercise audit
          rights, no more than once in each calendar year providing reasonable notice and during
          normal business hours, to inspect such records and books of account. Any inspection
          shall be at the Party's own cost unless any such examination of the records reveals an
          underpayment to such other Party of more than 10% in which case Distributor shall
          reimburse the reasonable costs of the inspection to the other Party. Notwithstanding the
          foregoing, a Report will be deemed correct and no longer subject to dispute by either
          Party twelve (12) months after the date such Report was delivered to such Party, unless
          the Report is rendered during a period subject to a pending audit.

  7.7.    All payments will be made in United States Dollars by wire transfer to the
          following accounts or to a different Caracol or TI account to be designated by the Parties
          m                                                                                 writing:

          If to Caracol

          Name on Account: Caracol Television S.A
          Name of Bank: BANCO DE BOGOTA MIAMI AGENCY FEDERAL RESERVE BANK

          Bank Address: 701 Brickell Avenue, Suite 1450. Miami, Fl. 33131


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         Account Number: 57299
         Swift code N°: BBOGUS3M
         ABA #: 066010720




          If to TI:

          Name on Account: Telemundo Internacional, LLC
          Name of the bank: Bank of America
          Bank Address: 901 Main Street, Dallas, TX 75202
          Account Number: 4426366968
          Swift code N°: BOFAUS3N
          ABA #: 026009593

  8.      Delivery Material:

  8.1.   Tl shall make available to Caracol for exploitation as provided in this Agreement the
         Delivery Material and the Additional Delivery Materia l. The Delivery Material and the
         Additional Delivery Material shall be of a quality standard to be agreed by the Parties.

  8.2.   Caracol will inspect and examine the Delivery Material and the Additional Delivery
         Material immediately upon receipt. In the event Caracol rejects the technical quality of
         the Delivery Material and the Additional Delivery Material for failure to meet the
         standards mutually agreed in the Co-Production Agreement, it shall notify TI no later
         than thirty (30) days after receipt of such material, upon which TI shall deliver at its own
         expense the replacing Delivery Material and the Additional Delivery Material of the
         requested quality within thirty (30) days thereafter.

  9.      Credits & Promotion of the Series:

  9.1.   If available, TI will provide Caracol with a list of all required screen credits (if not
         already contained in the Series), publicity, billing and promotional requirements and
         other credit requirements (if needed) as soon as possible after receipt by Caracol of the
         Delivery Material and in any event within seven (7) days of receipt of the Delivery
         Materials. In the event a third party fai ls to meet these requirements, the Parties shall
         notify each other and shall use commercially reasonable endeavors to correct such
         failure.

  9.2.   Distributor (and its sublicensees) shall each have the exclusive right within its territory to
         exercise, at its own expense and subject to any restrictions and third party encumbrances,
         the right to:

         a.   Advertise, publish and promote the Series;

         b. use the name, voice and likeness of any person who has rendered services on the
         Series for purposes of advertising, promotion or publicity of the Series but such use will

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           not be as an endorsement of any product or service without such person's written
           consent; and

           c. to include in all such advertising, promotion or publicity for the Series excerpts from
           the Series;

   9.3.     Each party shall grant to the other, in its capacity of Distributor, the non-exclusive
           royalty-free license to use, copy and display its trademark in connection with the exercise
           of Exploitation Rights throughout their Territory. Distributor agrees to use such
           trademark in accordance with a reasonable standard of care or in accordance with such
           other standard or specification as the relevant party may communicate to the other from
           time to time.

   10.     Dubbing and Subtitles:

   10.1.   Distributor shall have the non-exclusive right to dub or subtitle each Series at its sole
           expense and to deduct the costs of such dubbing or subtitling from the Gross Revenues
           subject to the other party' s approval and pursuant to the terms set forth in the "Net
           Revenues" definition, in which case the dubbed version shall belong to both Caracol and
           TI. Distributor shall, upon availability, provide access to the dubbed and/or subtitled
           version to the other party, provided that such other party shall bear any eventual
           residual/neighboring rights arising out of its (and its sublicensees') use of such material.

   10.2. If a licensee of a Distributor produces the dubbed version, such Distributor shall use its
         reasonable commercial efforts to have access to such dubbed version and to give access
         to it to the other Distributor, pursuant to the conditions stated in 10.1 above.

   11.     Intellectual Property Rights:

   11.1.   The copyright and other intellectual property rights in and to the Series, their translation
           and adaptations, their title and all other elements of, or appearing in the Series, or created
           pursuant to them are exclusively governed by the Co-Production Agreement.

   11.2.   Distributor shall not exploit or authorize the use of the other party's trademark or logos
           other than as specifically provided for in this Agreement, nor shall Distributor exploit or
           make use of the other party's logos, trade name or trademarks, or any translation without
           such Party's prior written approval. All logos, trademarks or trade names related to the
           Series may be used free of any extra charges by Distributor, in connection with the
           exploitation of any rights granted to Distributor under this Agreement.

   11.3.   Distributor will exercise its best efforts to obtain from any sublicensees the rights to any
           and all additions, changes and modifications made by the sublicense to the Series to the
           exclusive benefit of Distributor.

   11.4.   Distributor shall take reasonable steps to protect the copyright in the Series and to
           prevent the unauthorized exploitation of the Program in its respective Territories.
           Distributor will keep the other Party informed of any possible unauthorized use it finds.
           Distributor may in any anti-piracy action use its own counsel and the other party shall
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          render all assistance as may be required by Distributor in this regard. If the relevant anti-
          piracy action is approved by both Parties, Distributor' s expenses sha ll be reimbursed
          from any recovery equally with the other party' s pro rata (considering the same
          percentages provided for in Section 6) in the borne expenses.

  12.     Music:

  TI shall supply Caracol with available music cue sheets listing the composer, lyricist and
  publisher of all music embodied in the Series. TI shall have the right to determine the soundtrack
  of the Series as between Caracol and TI. Telemundo Television Studios ("TTS") an affiliate of
  TI shall be the party responsible for the clearance and payment of all music synchronization
  rights in connection with the Series, in perpetuity and worldwide. The music rights payments
  shall be part of the budget of the Series, and any additional payment shall be borne exclusively
  by ITS.. All license agreements with broadcasters entered into by Caracol or TI will require the
  broadcaster to pay any music performance royalties due as the result of such broadcaster' s
  exploitation of the Series.

  13.     Warranties:

  EACH PARTY IN ITS CAPACITY AS DISTRIBUTOR WARRANTS, REPRESENTS AND
  COVENANTS THAT:

  13. l . It is free to enter into and fully perform the rights and obligations set out m this
          Agreement;

  13.2.   it shall notify the other Party immediately of any infringements or violations in the
          Territories or elsewhere of any rights referred to hereunder that come to the attention of
          Distributor;

  13.3.   it shall comply with all laws and regulations applicable to its exercise of its rights and
          performance of its obligations hereunder. In the event any governmental agency shall
          object to transmission or exhibition of the Series, it shall immediately notify the other
          Party of such objection;

  13.4.   it shall secure any music performing rights, licenses necessary fo r the broadcast of the
          music contained in the Series in its Territories, shall make its relevant sublicensees pay
          such music performing rights monies and shall hold the other Party harmless from any
          liability or damages arising from failure to do so.

  13.5.   TI and Caracol hereby warrant, represents and covenants to each other, as applicable,
          that:

          a. with respect to the Series, it: (i) has or will have the rights and authorizations (whether
          by ownership or license) to grant the rights granted to Distributor, including without
          limitation, the necessary literary, artistic, technological and intellectual property rights;
          (ii) has secured or will secure a ll rights, license, clearances and releases necessary for the
          exercise by Distributor (and its sublicensees) of the rights granted hereunder except for

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          music performance rights; and (iii) Distributor's (and its sublicensees') use of the Series
          shall not oblige Distributor (or its sublicensees) to make any payments to any third
          parties other than with respect to music performance license fees;

          b. the Series shall not contain any material which          violates any applicable law or
          regulation;

          c. the Series does not infringe and will not infringe on any rights of any third party,
          including but not limited to copyright, patent, trademark, unfair competition, contract,
          property, privacy, publicity or moral rights ("Thirty Party Rights"), and Distributors' (and
          its sublicensees' ) exercise of the Exploitation Rights in accordance with this Agreement
          will not infringe on any Third Party Rights;

           d. it will not hereafter sell, assign, transfer, license, convey, mortgage or otherwise deal
          in or encumber any right, title or interest in or to the Series which would be materially
          adverse to or derogate from the rights granted hereunder and will not perform any other
          act or omission which would be materially adverse to or derogate from the rights granted
          hereunder and will not perform any other act or omission which would be materially
          adverse to or derogate from the rights granted to Distributor under this Agreement;

          e. it shall comply with all laws and regulations applicable to Distributor' s exercise of its
          rights and performance of its obligations hereunder. In the event that any governmental
          agency shall object to the transmission or exhibition of the Series hereunder, it shall
          immediately notify the other Party of such objection and the Parties shall consult
          regarding the steps to be taken;

          f. the music performing rights in each musical composition contained in the Series are
          and shall be (i) in the public domain in the relevant Territories; (ii) sufficiently controlled
          by TTSto allow Distributor to exercise the Exploitation Rights without the necessity of
          any additional payment; or (iii) available by license from the local music performing
          rights society in the relevant Territories.

   14.    Indemnification:

   Section 7.e of the Co-Production Agreement that contains Indemnity Language is incorporated
   herein by reference and shall apply as well to any claims asserted by a third party against an
   Indemnified Party (as defined in the Co-Production Agreement) with respect to any alleged
   breach of a representation, warranty, agreement or covenants contained herein.

   15.    Force Maieure:

   Subject to Section 16.3. below, in the event that either Party is prevented from performing any of
   its obligations under this Agreement or the production of the Series is prevented or delayed due
   to an act of God, strike, labor dispute, flood, fire, war or act of terrorism, riot or civil
   commotion, public disaster, order or act of government or any other cause or reason beyond such
   Party's control ("Force Majeure"), the Parties will meet in good faith and discuss alternative
   methods for continuing the distribution of the Series during the continuation of the Force

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   Majeure event. If such meetings do not result in a mutually agreeable resolution to the issues
   arising from the Force Majeure event, either Party, in its sole discretion, may terminate this
   Agreement without further obligation.

   16.     Default and Termination:

   16.1. Either Party may terminate this Agreement upon the commission of (i) a material breach of
   this Agreement by the other Party which is not capable of remedy or (ii) a material breach of this
   Agreement by the other Party which is capable of remedy, but which has not been remedied
   within a period of thirty (30) days after the non-breaching Party has delivered notice to the
   breaching Party specifying the breach and requiring it to be remedied; provided, however, that
   such thirty (30) day period will be extended for such additional period as will be reasonably
   necessary if such breach is incapable of remedy within thirty (30) days and during such period
   the breaching Party diligently endeavored to remedy the breach.

   16.2. Either Party will have the right, in addition to any other rights and remedies it may have, to
   terminate this Agreement if the other Party seeks relief under any bankruptcy or insolvency
   statute, makes an assignment for the benefit of creditors, or is placed in receivership.

   16.3. No termination of the Agreement for any reason will relieve or discharge a Party from any
   duty, obligation, or liability which arose or accrued prior to the date of such termination
   (including, the obligation to pay any amounts owing as of such date of termination), nor will it
   affect in any manner whatsoever the ownership of the copyright and other intellectual property
   rights in and to the Series.

   17.     Assignment:

   Notwithstanding the right of each Distributor to sublicense the Exploitation Rights under this
   Agreement, no Party shall assign, transfer, sublicense or in any way dispose of any of its rights
   or interests hereunder to any third party, without the prior written consent of the other Party,
   except (i) as provided in this Agreement and (ii) that both Parties may assign all its rights and
   obligations hereunder to one of its Affiliates, in which case such assigning party will remain
   jointly liable with such Affiliate for the obligations assumed by such assigning Party hereunder.

   18.     Miscellaneous:

   18.1.   Notices. Any notices, demands, consents, agreements, requests or other communications
           which may be or are required to be given, served or sent by any Party to any other Party
           or obtained from any Party pursuant to this Distribution Agreement must be in writing
           and must be (i) mailed by first-class mail, registered or certified, return receipt requested,
           postage prepaid; (ii) hand delivered personally by independent courier; or (iii) transmitted
           by fax addressed as follows:

                   (1)    If to Caracol:

                          Caracol Television S.A.


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                          Calle 103, #69B-43
                          Bogota D.C.
                          Colombia

                  (2)     If to Tl:

                          Telemundo Internacional LLC
                          2290 West 8th Avenue
                          Hialeah, Florida 33010
                          Attn: Business Affairs Department
                          Fax: 305-889-7926

   18.2.   Designation. Each Party may designate by notice in writing a new address to which any
           notice, demand, consent, agreement, request or communication may thereafter be so
           given, served or sent.        Each notice, demand, consent, agreement, request or
           communication which is mailed, hand delivered or transmitted in the manner described
           above will be deemed received for all purposes at such time as it is delivered to the
           address (with the return receipt, the courier delivery receipt or the fax answer back
           confirmation being deemed conclusive evidence of such delivery) or at such time as
           delivery is refused by the addressee upon presentation.

   18.3     Beneficiaries. This Distribution Agreement will inure to the benefit of and be binding
           upon the Parties and their permitted successors and permitted assigns.

   18.4     Dispute Resolution, Applicable Law and Forum. This Agreement, the rights and
           obligations of the Parties, and any claims or disputes relating in any way thereto will
           governed by the laws of the State of Florida, without regard to its choice of law
           principles. Any dispute arising out of this Agreement shall be resolved according to the
           procedures set forth in this section, which shall constitute the sole dispute resolution
           mechanisms hereunder. In the event that the Parties are unable to resolve any dispute
           after meeting and attempting in good faith to reach a negotiated resolution, such
           dispute(s) shall be resolved through binding arbitration conducted according to the JAMS
           Comprehensive Arbitration Rules and Procedures in effect as of the date hereof (the
           "Arbitration Rules"). The seat of arbitration shall be Miami-Dade County, before a
           single neutral arbitrator appointed in accordance with the Arbitration Rules. The
           arbitration will be a confidential proceeding, close to the general public. The arbitrator
           will issue a written opinion stating the essential findings and conclusions upon which the
           arbitrator's award is based. The Arbitrator will be prohibited from granting a costs award
           to either Party. The Parties will share equally in payment of the arbitrator' s fee and
           arbitration and any other costs unique to the arbitration hearing (recognizing that each
           side bears its own deposition, witness, expert and attorneys' fees and other expenses to
           same extent as if the matter were being heard in court). If either Party refuses to perform
           any or all of its obligations under the final arbitration award within thirty (30) days of
           such award being rendered, then the other Party may enforce the final award in any court
           of competent jurisdiction in Miami-Dade County, and each of the Parties hereto
           unconditionally submits to the jurisdiction of such court for the purpose of any


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           proceeding seeking such enforcement. The Parties shall maintain the confidential nature
           of the arbitration proceeding and any award, including any arbitration hearing, except as
           may be necessary to prepare for or conduct the arbitration hearing on the merits, or
           except as may be necessary in connection with a court application for a preliminary
           remedy, a judicial challenge to an award or its enforcement, or unless otherwise required
           by law or judicial decision. The Parties hereto waive, to the fullest extent they may do so
           effectively under applicable law, any objection they may have to the laying of the venue
           of any proceeding or that any proceeding brought in Miami-Dade County has been
           brought in an inconvenient forum. The Parties expressly waive any right to a jury trial.

   18.5     Counterparts. This Distribution Agreement may be executed in counterparts, and it will
           not be necessary that the signatures on behalf of each Party appear on each counterpart.
           All counterparts will collectively constitute a single Agreement.

   18.6      Modification. This Distribution Agreement may not be amended or modified or any
           provision or obligation waived or changed except by a writing executed by the Parties.

   18. 7    Severability. Any provision of this Distribution Agreement that is prohibited or
           unenforceable in any jurisdiction will, as to such jurisdiction, be ineffective to the extent
           of such prohibition or unenforceability without invalidating the remaining provisions of
           this Distribution Agreement and any such prohibition or enforceability in any jurisdiction
           will not invalidate or render unenforceable such provision in any other jurisdiction. To
           the maximum extent permitted by applicable law, the Parties waive any provision of law
           that renders any provision of this Distribution Agreement prohibited or unenforceable in
           any respect.

  18.8     No Waiver. No failure or delay of any Party in exercising any power or right under this
           Distribution Agreement will operate as a waiver thereof, nor will any single or partial
           exercise of any such right or power, or any abandonment or discontinuance of steps to
           enforce such a right or power, preclude any other or further exercise thereof of the
           exercise of any other right or power.

  18.9     Confidentiality. No party to this Agreement will disclose, directly or indirectly, in whole
           or in part, to any third person, firm or corporation, any Confidential Information (as
           defined below) which it receives or may previously have received from the other party,
           except that any such information may be disclosed to a party's employees in connection
           with the Agreement, to the extent that party reasonably determines such disclosure to be
           necessary. Neither party will use the Confidential Information for its own benefit, or copy
           or reproduce the Confidential Information, except as provided in this section. Each party
           will use the same degree of care in safeguarding the Confidential Information as it uses
           for its non confidential and proprietary information.

           For purposes of this Agreement, "Confidential Information" will mean any and all
           information, scripts, data, reports, summaries, documentation, and materials provided or
           disclosed by any party to the other party in connection with the Agreement and/or the
           businesses, operations and affairs of any party thereto and its related and affiliated

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          companies. Notwithstanding the foregoing, information and data disclosed will not be
          deemed to be Confidential Information, and the receiving party will have no obligation to
          treat such information and data as Confidential Information if, such information and data
          (i) before being used or disclosed by any party has become publicly known through no
          wrongful act of that party or has been approved for release by written authorization of the
          party owing such Confidential Information; (ii) was already known to or in possession of
          the other party; (iii) has independently been developed by the other party, its employees
          or contractors without prior access to any Confidential Information; (iv) or has been
          disclosed pursuant to a requirement of a government agency, or of law, provided prior
          notice of such required disclosure is given to the disclosing party.

   18.10 No Third Party Beneficiary. The provisions of this Distribution Agreement are solely for
         the benefit of the Parties and are not intended to benefit any third party, whether
         sponsors, viewers or otherwise, and no third party will be deemed to have any privity of
         contract by virtue of this Distribution Agreement.

   18 .11 Relationship of the Parties. The relationship between the Parties is that of two (2)
          principals dealing with each other as independent contractors. This Agreement does not
          create and it is not the intention of the Parties to create a partnership, joint venture,
          association or trust between the Parties. Neither Party has the right, power or authority at
          any time to act on behalf ot: or represent, the other Party, but each Party hereto will be
          separately and entirely liable for its own debts in all respects. No agency relationship is
          intended to be created by this Agreement.

  18.12 Remedies. No remedy conferred by any of the specific provisions of this Distribution
        Agreement is intended to be exclusive of any other remedy which is otherwise available
        at law, in equity, by statue or otherwise and except as otherwise expressly provided for in
        this Distribution Agreement. The election of one or more of such remedies by any Party
        will not constitute a waiver by such Party of the right to pursue any other available
        remedies.

  18.13 Captions. Section or other headings contained in this Distribution Agreement are for
        reference purposes only and will not affect in any way the meaning or interpretation of
        this Distribution Agreement. No provision of the Distribution Agreement will be
        interpreted for or against any party because that party or its legal representative drafted
        the provision.

  18.14 Entire Agreement. This Distribution Agreement constitutes the entire agreement of the
        Parties with respect to its subject matter and supersedes all prior written and oral
        agreements and understandings of any kinds.




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  AS AN EXPRESSION OF THEIR CONSENT, the Parties shall initial every page and sign at the
  bottom of three copies of the present Agreement, at the place and on the date indicated above, in
  the presence of the two undersigned witnesses.



   EXECUTED by the Parties on the date set out at the head of this Agreement.




                                             ALLLC




   CARACOL TELEVISION S.A.

  - By:    I   - ~.                                  _;)


   Print Name: ;ftJ(l.~        -.Jl."'lt"V1")rJ~- ) -
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                                  SCHEDULE A



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